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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  BAYER INTELLECTUAL PROPERTY                     )
  GMBH, BAYER AG, and JANSSEN                     )
  PHARMACEUTICALS, INC.,                          )
                                                  )
                         Plaintiffs,              )
           v.                                     )   C.A. No. 17-462-TBD
                                                  )
  TARO PHARMACEUTICAL INDUSTRIES                  )
  LTD., TARO PHARMACEUTICALS                      )
  U.S.A., INC., et al.,                           )
                                                  )
                         Defendants.              )

                        NOTICE OF SUBSTITUTION OF COUNSEL

        PLEASE TAKE NOTICE that, pursuant to Local Rule 83.7, the law firm of ROGOWSKI

LAW LLC hereby withdraws its appearance as Delaware counsel of record for defendant

InvaGen Pharmaceuticals, Inc. in the above referenced action.

        PLEASE TAKE FURTHER NOTICE that, pursuant to Local Rule 83.7, attorney Robert

S. Silver of the law firm of CAESAR RIVISE P.C. hereby withdraw their pro hac vice appearance

on behalf of defendant InvaGen Pharmaceuticals, Inc. in the above referenced action.

        PLEASE TAKE FURTHER NOTICE that the law firm of ABRAMS & BAYLISS LLP

hereby enters its appearance as substitute Delaware counsel of record on behalf of defendant

InvaGen Pharmaceuticals, Inc. in the above referenced action and hereby requests that copies of

all notices and pleadings given or filed in the above action be served on ABRAMS & BAYLISS LLP

at the address below.




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 /s/ John M. Seaman                        /s/ Patricia Smink Rogowski
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Entering Counsel for Defendant            Withdrawing Counsel for Defendant
InvaGen Pharmaceuticals, Inc.             InvaGen Pharmaceuticals, Inc.

Dated: March 16, 2020




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